         Case 3:20-cr-03200-CAB Document 50 Filed 05/05/21 PageID.94 Page 1 of 1

                                    UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                                 Case No. 20-cr-03200-CAB-2

                                             Plaintiff,
                            vs.
                                                                 JUDGMENT OF DISMISSAL
Nallely V. Martinez‐Cota,


                                          Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

       an indictment has been filed in another case against the defendant and the Court has
☐
       granted the motion of the Government for dismissal of this case, without prejudice; or
☐      the Court has dismissed the case for unnecessary delay; or

☒      the Court has granted the motion of the Government for dismissal, without prejudice; or

☐      the Court has granted the motion of the defendant for a judgment of acquittal; or

☐      a jury has been waived, and the Court has found the defendant not guilty; or

☐      the jury has returned its verdict, finding the defendant not guilty;

☒      of the offense(s) as charged in the Information:
       21:841(a)(1); 18:2 ‐ Possession of Methamphetamine with Intent to Distribute; Aiding and Abetting (Felony)




Dated: 5/3/2021
                                                           Hon. Jill L. Burkhardt
                                                           United States Magistrate Judge
